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                                                                         6                             IN THE UNITED STATES DISTRICT COURT
                                                                         7
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                             LOS ANGELES BIOMEDICAL RESEARCH
                                                      10                     INSTITUTE AT HARBOR-UCLA MEDICAL                           No. C 04-02201 JSW
                                                                             CENTER,
                                                      11
United States District Court




                                                                                              Third Party Intervenor and                VOIR DIRE
                                                      12                                      Plaintiff,
                                                      13                       v.
                               For the Northern District of California




                                                      14                     DR. GEOFFREY WHITE,
                                                      15                                 Defendant.
                                                                             _____________________________________/
                                                      16
                                                      17                                                       STATEMENT OF THE CASE
                                                      18                               This is a civil case involving breach of contract claims. The subject matter of the
                                                      19                     contract at issue pertains to patents and medical devices used to repair blocked or damaged
                                                      20                     blood vessels. These medical devices are known as vascular grafts, which include endovascular
                                                      21                     grafts.
                                                      22                               The Plaintiff in this case is Los Angeles Biomedical Research Institute at Harbor UCLA.
                                                      23                     Medical Center (“L.A. Biomed”). The Defendant is Dr. Geoffrey White (“Dr. White”).
                                                      24                               Between 1985 and 1989, Dr. White was an assistant professor in the Department of
                                                      25                     Surgery at Harbor-UCLA Medical Center. In 1985, L.A. Biomed and Dr. White signed a Patent
                                                      26                     and Copyright Agreement. I will not go into the details of the terms of this Patent and
                                                      27                     Trademark Agreement, however L.A. Biomed claims that Dr. White breached certain terms of
                                                      28                     that agreement and, as a result, it claims to have rights of ownership in two patents held by Dr.
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                                                                         1   White relating to intraluminal grants for use in treatment of aneurysms or occlusive disease.
                                                                         2          Dr. White denies L.A. Biomed’s claims.
                                                                         3                                 QUESTIONS FOR THE PANEL
                                                                         4          1.      Has any member of the panel heard or read anything about the case?
                                                                         5          2.      L.A. Biomed (formerly known as Research and Education Institute) is located in
                                                                         6                  Torrance, California. Do any of you know or have any of you had any dealings
                                                                         7                  with L.A. Biomed?
                                                                         8          3.      L.A. Biomed is represented by the following lawyers from the law firm of
                                                                         9                  Cooley Godward LLP: Gordon C. Atkinson, Linda Callison, Michelle Rhyu, and
                                                      10                                    Benjamin Damstedt.
                                                      11                                           a)      Do any of you, or any member of your family or your close
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                                                      12                                                   friends, know any of these persons?
                                                      13                                           b)      Have any of you, or any member of your family or your close
                               For the Northern District of California




                                                      14                                                   friends, had any business dealing with them or were represented
                                                      15                                                   by them?
                                                      16                                           c)      Have any of you, or any member of your family or your close
                                                      17                                                   friends had any other similar relationship or business connection
                                                      18                                                   with any of them?
                                                      19                            4.      Dr. Geoffrey White is an Australian citizen. Do any of you know or have any of
                                                      20                                    you ever had any dealings with or have you or any member of your immediate
                                                      21                                    family been treated by Dr. White?
                                                      22                            5.      Dr. White is represented by the following lawyers from the law firm of Sidley
                                                      23                                    Austin Brown & Wood LLP: Russell (“Russ”) Johnson, Matthew T. Powers,
                                                      24                                    Hugh A. Abrams, Stephen C. Carlson, Carrie Cotter, Ann Mace, and Jeffrey
                                                      25                                    Klingman.
                                                      26                                           a)      Do any of you, or any member of your family or your close friends
                                                      27                                                   know any of these persons?
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                                                                         1                    b)      Have any of you, or any member of your family or your close
                                                                         2                            friends had any business dealing with them or were represented by
                                                                         3                            them?
                                                                         4                    c)      Have any of you, or any member of your family or your close
                                                                         5                            friends had any other similar relationship or business connection
                                                                         6                            with any of them?
                                                                         7       6.    As I indicated, my name is Jeffrey S. White. Do any of you know me?
                                                                         8       7.    My courtroom deputy is Jennifer Ottolini and my Law Clerks are Daisy Salzman,
                                                                         9             Melissa Goldberg, and Kristin Ring. Do any of you know any of these people?
                                                      10                         8.    You were provided with a list of the parties’ witnesses when you filled out your
                                                      11                               questionnaire. Do any of you know or have any of you had dealings, directly or
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                                                      12                               indirectly, with any of those individuals or organizations whose names were
                                                      13                               mentioned or who may be witnesses during the course of this trial?
                               For the Northern District of California




                                                      14                         9.    Have any of your heard or read about on-going litigation (or a trial) between L.A.
                                                      15                               Biomed and Dr. White?
                                                      16                         10.   Have any of you or anyone in your immediate family had any training in the law?
                                                      17                         11.   Have any of you or an immediate family member ever been a party to a lawsuit?
                                                      18                         12.   Have any of you ever served as a juror in a criminal or a civil case or as a
                                                      19                               member of a grand jury in either a federal or state court?
                                                      20                         13.   Do any you have any feelings or opinions about lawsuits, lawyers or parties to
                                                      21                               lawsuits that would affect your ability to be a fair and impartial juror in this case?
                                                      22                         14.   Do any of you have friends or close family members that are doctors?
                                                      23                         15.   Do any of you have any experience with vascular or endovascular surgery or the
                                                      24                               condition abdominal aortic aneurysm?
                                                      25                         16.   Do any of you have an experience or familiarity with patents?
                                                      26                         17.   Do any of you work for a company that has patents or that deals with patented
                                                      27                               technology?
                                                      28                         18.   Have any of your or has anyone any of you know applied for a patent?


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                                                                         1       19.   Have any of you ever been party to an agreement in which you agreed to give
                                                                         2             your employer rights in your ideas?
                                                                         3       20.   Have any of you, or your employer, or anyone you know, ever been involved in a
                                                                         4             lawsuit for breach of an agreement or contract?
                                                                         5       21.   Have any of you, or any member of your family or your close friends, ever had to
                                                                         6             sign a contract as a condition of employment?
                                                                         7       22.   Have any of you, or any member of your family or your close friends, ever been
                                                                         8             held to the terms of that contract without realizing that you had agreed to the
                                                                         9             terms?
                                                      10                         23.   During the course of this trial, you may hear evidence of experiments performed
                                                      11                               on live animals in order to test various medical devices. At the end of these
United States District Court




                                                      12                               experiments, the animals were humanely euthanized. Will any of you be
                                                      13                               concerned about hearing this type of evidence?
                               For the Northern District of California




                                                      14                         24.   In the trial, Plaintiff LA Biomed will put its evidence on first and then Defendant
                                                      15                               Dr. White has the opportunity to put on his evidence. Do any of you think that
                                                      16                               you would have difficulty keeping an open mind regarding this case until you
                                                      17                               have heard all of the evidence and I have instructed you on the law?
                                                      18                         25.   If you are selected as a juror, you may have to resolve conflicts in the testimony
                                                      19                               of witnesses. This means you may have to decide whether to believe or reject all
                                                      20                               or part of a witness' testimony. Do any of you feel that this is something you
                                                      21                               cannot do?
                                                      22                         26.   If you are selected to sit on this case, is there anyone who thinks they will not be
                                                      23                               able to render a verdict solely on the evidence presented at the trial and in the
                                                      24                               context of the law as I will give it to you in my instructions, disregarding any
                                                      25                               other ideas, notions, or beliefs about the law that you may have encountered in
                                                      26                               reaching your verdict?
                                                      27                         27.   Having heard the questions put to you by the Court, can any of you think of any
                                                      28                               other reason suggest as to why you could not sit on this jury and render a fair


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                                                                         1               verdict based on the evidence presented to you and in the context of the Court’s
                                                                         2               instructions to you on the law?
                                                                         3         28.   Do any of you have anything that you would like to bring to the Court’s attention
                                                                         4               (e.g., health problems, hearing problems, difficulty understanding English,
                                                                         5               personal bias, financial problems, etc.) that might affect your ability to be an
                                                                         6               effective, fair and impartial juror?
                                                                         7
                                                                         8   Dated: March 13, 2006
                                                                                                                                    JEFFREY S. WHITE
                                                                         9                                                          UNITED STATES DISTRICT JUDGE
                                                      10
                                                      11
United States District Court




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                               For the Northern District of California




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